8:07-cr-00071-LSC-SMB        Doc # 149     Filed: 08/16/07    Page 1 of 1 - Page ID # 499



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )               CASE NO. 8:07CR71
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )                    ORDER
                                             )
SANTOS PENA,                                 )
                                             )
              Defendant.                     )

       This matter is before the Court on the government’s motion to strike Filing No. 144

(Filing No. 147).

       IT IS ORDERED:

       1.     The government’s motion to strike Filing No. 144 (Filing No. 147) is granted;

              and

       2.     Filing No. 144 is deemed stricken.

       DATED this 16th day of August, 2007.

                                                 BY THE COURT:

                                                 s/Laurie Smith Camp
                                                 United States District Judge
